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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    YELLOW PAGES PHOTOS, INC.,

           Plaintiff,

    v.                                                   CASE NO.: 8:17-cv-00388-WFJ-CPT

    TATA CONSULTANCY SERVICES
    LIMITED, INC.,

          Defendant.
    ____________________________________/

            JOINT MOTION TO AMEND BRIEFING SCHEDULE REGARDING
                 SUPPLEMENTAL SUMMARY JUDGMENT MOTIONS

           Pursuant to Rule 6 (b)(1)(A), Federal Rules of Civil Procedure and Local Rule 3.01,

    Rules of the U.S. District Court for the Middle District of Florida, Plaintiff, Yellow Pages

    Photos, Inc. (“YPPI”), and Defendant, Defendant Tata Consultancy Services Limited, Inc.

    (“TCS”), hereby jointly move the Court on the following grounds for an order amending the

    briefing schedule to (a) extend the deadline for filing a supplemental summary judgment

    pleading on the Verizon license issue (the “Verizon License Supplemental Summary Judgment

    Motion”) until February 28, 2020; and (b) extend the deadline for and consolidate YPPI’s

    response to Defendant Tata Consultancy Services Limited’s Supplemental Motion for Partial

    Summary Judgment with YPPI’s response to a Verizon License Supplemental Summary

    Judgment Motion and file it in one memorandum not to exceed forty (40) pages on March 13,

    2020, as follows:

           1.      On February 20, 2020, the Court granted TCS’ oral motion to continue the trial

    date and continued the trial until April 13, 2020.
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           2.       That same day, the Court entered an order allowing the parties to file a Verizon

    License Supplemental Summary Judgment Motion. See Dkt. No. 156.

           3.       The current deadline for the parties to file a Verizon License Supplemental

    Summary Judgment Motion is February 27, 2020. See Dkt. No. 156.

           4.       TCS seeks, and YPPI does not oppose, a one-day extension to file a Verizon

    License Supplemental Summary Judgment Motion, through and including February 28, 2020.

    The parties’ respective response to such motion would be due to be filed on March 13, 2020.

    See Dkt. 156.

           5.       Previously, TCS filed its Supplemental Motion for Partial Summary Judgment

    on February 18, 2020 (“TCS’ First Supplemental Summary Judgment Motion”), and YPPI’s

    response to the First Supplemental Summary Judgment Motion is March 3, 2020. See Dkt.

    No. 146.

           6.       YPPI seeks, and TCS does not oppose, to extend the deadline for and

    consolidate its response to the First Supplemental Summary Judgment Motion with its

    response to TCS’ anticipated Verizon License Supplemental Summary Judgment Motion, and

    file both responses in one (1) memorandum not to exceed forty (40) pages on March 13, 2020.

           7.       The parties do not seek these extensions for delay or any other improper

    purpose.

           8.       Good cause exists to extend these deadlines. YPPI believes that it will be easier

    for the Court to consider YPPI’s responses to the supplemental summary judgment motions if

    the responses are contained in one document. Thus, for judicial economy the deadline for

    YPPI’s response to TCS’ First Supplemental Summary Judgment Motion should be extended




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    to be filed with YPPI’s response to TCS’s anticipated Verizon License Supplemental Summary

    Judgment Motion. TCS seeks a one-day extension because its counsel has had travel and other

    obligations that make filing its motion on February 27, 2020, particularly difficult.

           9.      No party will be prejudiced by the extensions as both parties have agreed to the

    relief sought and the extensions do not affect any other case deadlines as the trial has already

    been moved to April 13, 2020.

           WHEREFORE, Plaintiff, Yellow Pages Photos, Inc. and Defendant, Defendant Tata

    Consultancy Services Limited, Inc. respectfully request the Court grant this Joint Motion, and

    enter an Order amending the briefing schedule as set forth in detail above, and granting all

    such other relief as this Court deems just and proper.




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     Dated: February 26, 2020              Respectfully submitted,



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